
The following order has been entered on the motion filed on the 15th of June 2017 by Defendant (Robert M. George) for Temporary Stay:
"Motion Dissolved by order of the Court in conference, this the 7th of December 2017."
Upon consideration of the petition filed by Defendant (Robert M. George) on the 15th of June 2017 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 7th of December 2017."
Upon consideration of the petition filed by Defendant (Robert M. George) on the 15th of June 2017 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 7th of December 2017."
The following order has been entered on the motion filed on the 30th of June 2017 by Defendant (Robert M. George) for Leave to Amend or Supplement Petition for Writ of Certiorari, Petition for Writ of Supersedeas, and Motion for Temporary Stay:
"Motion Allowed by order of the Court in conference, this the 7th of December 2017."
